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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
______________________________________
                                       )
UNITED STATES SECURITIES               )
AND EXCHANGE COMMISSION,               )
                                      )  Civil Action No. 18-CV-5587
                  Plaintiff,          )
          v.                          )
                                      )  Hon. John Z. Lee
EQUITYBUILD, INC.,                    )
EQUITYBUILD FINANCE, LLC,             )
JEROME H. COHEN, and                  )  Magistrate Judge Young B. Kim
SHAUN D. COHEN,                       )
                                      )
                  Defendants.          )
                                       )

                                    NOTICE OF MOTION

       Please take notice that on Friday, April 5, 2019, at 11:00 a.m., the undersigned will appear

before the Honorable Young B. Kim, or any judge sitting in his stead, in Courtroom 1019, and

present the Receiver’s Motion for Extension of Time to File Reply.



Dated: April 3, 2019                         Kevin B. Duff, Receiver



                                     By:     /s/ Nicole Mirjanich

                                             Nicole Mirjanich
                                             Rachlis Duff Peel & Kaplan, LLC
                                             542 South Dearborn Street, Suite 900
                                             Chicago, IL 60605
                                             Phone (312) 733-3950; Fax (312) 733-3952
                                             nm@rdaplaw.net
   Case: 1:18-cv-05587 Document #: 308 Filed: 04/03/19 Page 2 of 2 PageID #:5257



                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2019, I provided service of the foregoing Motion for

Extension of Time to File Reply, via ECF filing to all counsel of record, and via electronic mail or

U.S. mail to the following individuals and entities:

       Jerome and Patricia Cohen
       1050 8th Avenue N
       Naples, FL 34102
       jerryc@reagan.com
       Defendant

       First Bank
       Client Contact Center
       600 James S. McDonnell Blvd
       St. Louis, MO 63042
       pjb@gunn-gunn.com


                                      By:     /s/ Nicole Mirjanich

                                              Nicole Mirjanich
                                              Rachlis Duff Peel & Kaplan, LLC
                                              542 South Dearborn Street, Suite 900
                                              Chicago, IL 60605
                                              Phone (312) 733-3950; Fax (312) 733-3952
                                              nm@rdaplaw.net




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